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 5

 6                             UNITED STATES DISTRICT COURT
 7                         NORTHERN DISTRICT OF CALIFORNIA
                                      SAN JOSE, DIVISION
 8
       ---------------------------------:
 9
       SALOOJAS INC,                                  : CASE NO:
10
                   Plaintiff                  : CLASS ACTION COMPLAINT
11
                 vs.                          :
12                                             :
       AETNA HEALTH OF CALIFORNIA, INC :
13                                            :
                 Defendant.                   :
14
      _______________________________________ :_____
15

16

17                       ORIGINAL CLASS ACTION COMPLAINT
18                                   AND JURY DEMAND
19
             Plaintiff Saloojas, Inc dba AFC Urgent Care of Newark, A California corporation,
20
      (“Plaintiff”), brings this Original Complaint    on its behalf of all others similarly
21

22    situated, by and through counsel, brings this action against Aetna Healthcare of

23    California (hereinafter referred to as AETNA). Plaintiff’s allegations herein are based
24    upon personal knowledge and belief as to his own acts and upon the investigation of
25
      his counsel and information and belief as to all other matter.
26

27

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 1                                       INTRODUCTION
 2      1.          This is a class action lawsuit brought against the Defendant Aetna Healthcare
 3
      of California by Plaintiff on behalf of itself and all and similarly situated individuals
 4
         2.          Plaintiff brings this action against the Defendant Aetna, hereinafter referred
 5
      to as Aetna, because it has unjusti iably engaged in unconscionable and fraudulent
 6

 7    conduct during the COVID-19 public health emergency period in order to evade and

 8    circumvent its obligations to fully cover all Aetna Plan members’ COVID-19
 9    diagnostic testing (“Covid Testing”) services and to reimburse Plaintiff, an out-of-
10
      network (“OON”) laboratory, for bona ide Covid Testing services offered to these
11
      same members in accordance with a Congressionally set methodology established and
12
      supported by the Families First Coronavirus Response Act (the “FFCRA”), the
13

14    Coronavirus Aid, Relief, Economic Security Act (the “CARES Act”).

15            3.         Plaintiff brings this action against the Defendant Aetna, hereinafter
16
      referred to as Aetna, because it has unjusti iably engaged in unconscionable and
17
      fraudulent conduct during the COVID-19 public health emergency period in order to
18
      evade and circumvent its obligations to fully cover all Aetna Plan members’ COVID-
19

20    19 diagnostic testing (“Covid Testing”) services and to reimburse Plaintiff, an out-of-

21    network (“OON”) laboratory, for bona ide Covid Testing services offered to these

22    same members in accordance with a Congressionally set methodology established and
23
      supported by the Families First Coronavirus Response Act (the “FFCRA”), the
24
      Coronavirus Aid, Relief, Economic Security Act (the “CARES Act”)
25
          4.          The importance of Covid Testing during a worldwide pandemic cannot be
26

27    overlooked as it is the best mitigation mechanism in place to identify and curtail the

28
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      spread of the COVID-19 virus. Due to the urgent need to facilitate the nation’s
 1

 2    response to the public health emergency posed by COVID-19, Congress passed the

 3    FFCRA and the CARES Act to, amongst other things, address issues pertaining to the

 4    costs of and access to Covid Testing during the COVID-19 pandemic.
 5
          5.      Aetna’s conduct (or lack thereof as it pertains to the Employer Plans) has
 6
      undermined national efforts made to mitigate the spread of the COVID-19 virus as it
 7
      has caused Plaintiff, and other similarly situated OON providers, to shutter specimen
 8

 9    collection and testing locations and to potentially stop offering Covid Testing services

10    altogether. Aetna’s misprocessing and denials of Covid Testing claims is nearing an
11    insurmountable inancial loss for Plaintiff and has caused Plaintiff to hemorrhage its
12
      own funds to cover such inancial losses.
13
          6.     Aetna has not only mis-adjudicated almost every single Covid Testing claim
14
      submitted by Plaintiff on behalf of members of Aetna Plans and Employer Plans
15

16    administered by Aetna, but has, in fact, denied the vast majority of Covid Testing

17    claims that Plaintiff has submitted, the reasons for which are to be detailed
18    throughout the course of this Original Complaint.
19
            7.      Aetna’s fraudulent behavior, in its capacity as an insurer and third-party
20
      claims administrator, and its failures to oversee and regulate Aetna’s behavior (despite
21
      being provided with notice and an opportunity to remedy Aetna’s behavior) has had a
22

23    material adverse effect on the nation’s response to the COVID-19 pandemic as it has

24    largely diminished access to testing, shifted inancial responsibility for the cost of
25    Covid Testing to the members of Aetna Plans and Employer Plans, and, in the event of
26
      any future pandemics requiring the cooperation and the joint efforts of licensed
27
      medical facilities and professionals (e.g. Plaintiff), providers who have fallen victim to
28
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      Aetna’s predatory practices will be hesitant and less likely to participate in any such
 1

 2    future Federal and/or State efforts. In turn, jeopardizing any future pandemic

 3    responses.

 4         8.       Plaintiff has incessantly attempted to contact the Defendant Aetna to
 5
      inform it of its unlawful practices, has attempted to negotiate an agreed amount/rate
 6
      to be reimbursed for Covid Testing services with Aetna, and also has provided it notice
 7
      of its unlawful practices. However, all attempts by Plaintiff to amicably resolve this
 8

 9    matter have failed, and Plaintiff is now left with no other option than to ile this lawsuit

10    against the Defendant.
11        9.        By way of this lawsuit, Plaintiff seeks to:
12
            (i)     hold the Defendant Aetna accountable for its fraudulent and unlawful
13
                    practices, and Employer Plans responsible for their failures to monitor
14
                    and check Aetna on its practices despite being provided with notice of
15

16                  such misconduct;

17         (ii)     ensure Plaintiff is properly reimbursed for its efforts to provide a public
18                  service in response to the COVID-19 public health emergency; and
19
           (iii)    act as a safeguard against future unlawful practices instituted by Aetna,
20
                    Employer Plans, and other insurers and health plans in the event of other
21
                    national public health emergencies.
22

23                                    NATURE OF THE CLAIMS

24        10.       The Plaintiff conducts and renders Covid Diagnostic Testing Services
25
      Therefore, Plaintiff as a medical facility and provider has all authorizations and/or
26
      approvals necessary to render and be reimbursed for Covid Testing services. 3 During
27
      the pandemic Plaintiff has operated seven specimen collection sites.
28
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          11.        Aetna provides health insurance and/or bene its to members of Aetna
 1

 2    Plans pursuant to a variety of health bene it plans and policies of insurance, including

 3    employer- sponsored bene it plans and individual health bene it plans.

 4         12.       Under ordinary circumstances, not all health plans insured or
 5
      administered by Aetna offer its members with access to OON providers and facilities.
 6
      However, pursuant to Section 6001 of the FFCRA, as amended by Section 3201 of the
 7
      CARES Act, all group health plans and health insurance issuers offering group or
 8

 9    individual health insurance coverage are required to provide bene its for certain items

10    and services related to diagnostic testing for the detection or diagnosis of COVID-19
11    without the imposition of cost-sharing, prior authorization or other medical
12
      management requirements when such items or services are furnished on or after
13
      March 18, 2020, for the duration of the COVID-19 public health emergency regardless
14
      of whether the Covid Testing provider is an in-network or OON provider.
15

16          13.     Furthermore, Section 3202(a) of the CARES Act provides that all group
17    health plans and health insurance issuers covering Covid Testing items and services, as
18
      described in Section 6001 of the FFCRA must reimburse OON providers in an amount
19
      that equals the cash price for such Covid Testing services as listed by the OON provider
20
      on its public internet website or to negotiate a rate/amount to be paid that is less than
21

22    the publicized cash price.

23
          14.       Aetna has intentionally disregarded its obligations to comply with its
24
      requirements to cover Covid Testing services without the imposition of cost-sharing
25
      and other medical management requirements pursuant to Section 6001 of the FFCRA
26

27    and, in the instances Plaintiff is reimbursed for its Covid Testing services, has failed to

28
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      reimburse Plaintiff in accordance with Section 3202(a) of the CARES Act. These
 1

 2    violations are made to inancially bene it Aetna and, by acting in its own self-interests,

 3    has also caused the Employer Plans to be in violation of the FFCRA, the CARES Act,

 4    Employee Retirement Income Security Act of 1974 (“ERISA”), and applicable State law.
 5
           15.      Aetna has set up complex processes and procedures:
 6

 7         (i)      to deny or underpay claims for arbitrary reasons;

 8         (ii)     to force Plaintiff into a paperwork war of attrition in hopes of wearing
 9
                    down Plaintiff to the point of collapse through continuous inundation of
10
                    Plaintiff’s   inancial and operational resources
11

12        (iii)    that have turned Aetna’s internal administrative appeals procedures into

13
                   kangaroo court where facts and law have no relevance, thus, rendering the
14
                   administrative appeals process functionally meritless;
15

16        (iv)     to disinform its members, the Employer Plans and other self-funded health
17
                   plans that it administers, Plaintiff and other similarly situated OON
18
                   providers, the general public, and Federal and State regulators of
19

20                 its obligations to adjudicate Covid Testing claims in accordance with
21
                   the FFCRA and the CARES Act; and
22

23        (v)      to ultimately engage in unscrupulous and fraudulent conduct for its

24                 own inancial bene it during this public health emergency.
25
          16.       Aetna’s schemes and misconduct also violate the Racketeer In luenced and
26
     Corrupt Organizations Act, 18 U.S.C. §§ 1961-1968 (“RICO”). Aetna has engaged in a
27
     pattern of racketeering activity that includes, but may not be limited to, the
28
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     embezzlement and/or conversion of welfare funds and the repeated and continuous
 1

 2   use of mails and wires in the furtherance of multiple schemes to defraud as detailed

 3   through this Original Complaint.

 4                                      PARTIES
 5
          17.      Plaintiff Saloojas, inc dba AFC Urgent Care of Newark is a corporation
 6
      organized under the laws of the State of California, with its company headquarters
 7

 8    located at 1563 Stevenson Blvd, Newark, CA 94560 Plaintiff has lawful standing to

 9    bring in all claims asserted herein.
10       18.      Defendant Aetna is a California corporation doing business in this district.
11
                                    JURISDICTION AND VENUE
12

13      19.      This Court has federal question subject matter jurisdiction over this matter
14
     pursuant to 28 U.S.C. § 1131, as Plaintiff asserts federal claims against Aetna and
15
     Employer Plans in Counts I and II, under the FFCRA, the CARES Act, and ERISA.
16
          20.     This Court also has federal question subject matter jurisdiction over this
17

18    matter pursuant to 28 U.S.C. § 1131, as Plaintiff asserts federal claims against Aetna in

19    Count III, under RICO.
20       21.     This Court also has supplemental jurisdiction over Plaintiff’s state law claims
21
      against Aetna, in Counts V, VI, VII, VIII, and IX because these claims are so related to
22
      Plaintiff’s federal claims that the state law claims form a part of the same case or
23
      controversy under Article III of the United States Constitution. The Court has
24

25    supplemental jurisdiction over these claims pursuant to 28 U.S.C. § 1367(a).

26       22.      Venue is appropriate in this Court under 28 U.S.C. § 1391(b)(2) because a
27    substantial portion of the events giving rise to this action arose in this District.
28
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                                CLASS ACTION ALLEGATIONS
 1
          23.     This action is brought, and may properly proceed, as a class action,
 2

 3    pursuant to Rule 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil Procedure.

 4    Plaintiff seeks certi ication of a Class de ined as follows:
 5

 6                                    Nationwide Class:

 7         24.      All persons, businesses and entities who were and are out of network

 8    providers of Covid testing services and covered by the CARES and FFRCA ACTs for
 9    payment by Aetna of their posted prices for rendered Covid Testing services to the
10
      Defendant Aetna’s insured
11
           25.       Plaintiff reserves the right to modify, change, or expand        the class
12
      de initions if discovery and/or further investigation reveal that they should be
13

14    expanded or otherwise modi ied.

15         26.     Numerosity: The Class is so numerous that joinder of all members is
16
      impracticable. While the exact number and identities of individual members of the
17
      Class is unknown at this time, Plaintiff believes, and on that basis allege, that at least
18
      tens of thousands of persons exist who are out of network providers to the insured of
19

20    the Defendant each of whom could ile a similar Complaint to this one iled herein for

21    the thousands of unpaid and under paid rendered Covid Testing services cases which

22    it has.
23
          27.      Existence/Predominance of Common Questions of Fact and Law:
24
      Common questions of law and fact exist as to all members of the Class. These
25
      questions predominate over the questions affecting individual Class members. These
26

27    common legal and factual questions include, but are not limited to:

28         (a)     Does the FFRCA and CARES ACT apply to the Defendant Aetna?

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 1
           (b)      Are the following charges valid COVID Testing fees under the CARES Act?
 2
                   (i) the doctor Covid medical visit CPT 99203,
 3

 4                (ii)    the additional urgent care walkin charge CPT CODE S9088,
 5
                  (iii)   the patient optional Covid swab collection fee CPT CODE G2023 and
 6

 7                (iv)    the patient optional fee for the emergency Covid protective equipment

 8                        CPT CODE 99072.
 9
          (c)      can the Defendant Aetna shift the payment for the above (b)(1-iv) service
10

11                to their insured as their responsibility?

12        (d)     if the (b) (1-iv) services are COVID testing services, is it the responsibility of
13
                  the Defendant Aetna to pay their posted prices under the CARERS ACT?
14

15         28.     Typicality: Plaintiff’s claims are typical of the claims of the Class and Class
16
      members were injured in the same manner by Defendant’s uniform course of conduct alleged
17
      herein.     Plaintiff and all Class members have the same claims against defendant
18
      relating to the conduct alleged herein, and the same events giving rise to Plaintiff’s
19

20    claims for relief are identical to the giving rise to the claims of all Class Members.

21        29.        Adequacy: Plaintiff is an adequate representative for the Class because its
22    interests do not con lict with the interests of the Class that he seeks to represent.
23
      Plaintiff has retained counsel competent and highly experienced in complex litigation
24
      and they intend to prosecute this action vigorously.                 The interests of the
25
      Class will be fairly and adequately protected by Plaintiff and his counsel.
26

27       30.         Superiority: A class action is superior to all other available means of fair

28    and ef icient adjudication of the claims of Plaintiff and members of the Class. The
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      injury suffered by each individual Class member is relatively small in comparison to
 1

 2    the burden and expense of individual prosecution of the complex and extensive

 3    litigation necessitated by Defendant’s conduct. It would be virtually impossible for

 4    members of the Class individually to redress effectively the wrongs done to them by
 5
      Defendant. Even if Class members could afford such individual litigation, the court
 6
      system could not. Individualized litigation presents a potential for inconsistent or
 7
      contradictory judgments. Individualized litigation increases the delay and expense to
 8

 9    all parties, and to the court system, presented by the complex legal and factual issues

10    of the case. By contrast, the class action device presents far fewer management
11    dif iculties, and provides the bene its of single adjudication, an economy of scale, and
12
      comprehensive supervision by a single court. Upon information and belief, members
13
      of the Class can be readily identi ied and noti ied.
14
          31      Defendant has acted, and refuses to act, on grounds generally applicable to the
15

16    Class, hereby making appropriate inal equitable and injunctive relief with respect to

17    the Class as as a whole.
18                 BACKGROUND AS TO THE FFCRA AND THE CARES ACT
19
          32.       Pursuant to Section 319 of the Public Health Service Act, on January 31,
20
      2020, the Secretary of Health and Human Services (“HHS”) issued a determination that
21

22    a Public Health Emergency exists and has existed as of January 27, 2020, due to

23    con irmed cases of COVID-19 being identi ied in this country.7
24
          33.       On March 13, 2020, the President issued Proclamation 9994 declaring a
25
      National Emergency concerning the COVID-19 outbreak with a determination that a
26
      national emergency exists nationwide, pursuant to Section 501(b) of the Robert T.
27

28    Stafford Disaster Relief and Emergency Assistance Act.

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          34.        To facilitate the nation’s response to the COVID-19 pandemic, Congress
 1

 2    passed the FFCRA and the CARES Act to, amongst other things, require group health

 3    plans and health insurance issuers offering group or individual health insurance

 4    coverage to:
 5
            (i)      provide bene its for certain items and services related to diagnostic
 6
                     testing for the     detection or diagnosis of COVID- 19 without the
 7
                     imposition of any cost-sharing     requirements     (i.e.   deductibles,
 8

 9                   copayments, and coinsurance) or prior authorization or other

10                   medical management requirements;8 and
11          (ii)     to reimburse any provider for COVID-19 diagnostic testing an amount
12
                     that equals the negotiated rate or, if the plan or issuer does not have a
13
                     negotiated rate with the provider (e.g. Plaintiff), the cash price for such
14
                     service that is listed by the provider on its public website in accordance
15

16                   with 45 CFR § 182.40.

17        35. To further clarify to issuers and health plans their legal expectations when
18    processing a claim for Covid Testing in accordance with the FFCRA and the CARES
19
      Act, the Department of Labor (“DOL”), the Department of Health and Human Services
20
      (“HHS”), and the Department of the Treasury (the “Treasury”) (collectively, the
21
      “Departments”) jointly prepared and issued a series of Frequently Asked Questions
22

23    (“FAQs”) to address any stakeholder questions or concerns pertaining to the proper

24    adjudication of Covid Testing claims. The following FAQs summarize the health plan
25    and issuers’ obligations as it pertains to covering and paying for Covid Testing services
26
      during the public health emergency:
27

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            The Departments FAQ, Part 42, Q1: Which types of group health plans and
 1          health insurance coverage are subject to section 6001 of the FFCRA, as amended
            by section 3201 of the CARES Act?
 2

 3          Section 6001 of the FFCRA, as amended by section 3201 of the CARES Act,
            applies to group health plans and health insurance issuers offering group or
 4          individual health insurance coverage (including grandfathered health plans as
            de ined in section 1251(e) of the Patient Protection and Affordable Care). The
 5          term “group health plan” includes both insured and self-insured group health
            plans. It includes private employment-based group health plans (ERISA
 6          plans), non-federal governmental plans (such as plans sponsored by states
            and local governments), and church plans.
 7
            “Individual health insurance coverage” includes coverage offered in the
 8          individual market through or outside of an Exchange, as well as student health
            insurance coverage (as de ined in 45 CFR 147.145).1
 9

10          The Departments FAQ, Part 42, Q3: What items and services must plans and
            issuers provide bene its for under section 6001 of the FFCRA?
11
            Section 6001(a) of the FFCRA, as amended by Section 3201 of the CARES Act,
12
            requires plans and issuers to provide coverage for the following items and
13          services:

14              (1) An in vitro diagnostic test as de ined in section 809.3 of the title 21,
            Code of Federal Regulations, (or its successor regulations) for the detection of
15          SARS-CoV-2 or the diagnosis of COVID-19, and the administration of such a
            test, that - …
16
                       B. The developer has requested, or intends to request, emergency
17          use authorization under section564 of the Federal Food, Drug, and Cosmetic
            Act (21 U.S.C. 360bbb-3), unless and until the emergency use authorization
18
            request under such section 564 has been denied or the developer of such test
19          does not submit a request under such section within a reasonable time frame;
            …2
20
      1
          See https://www.cms.gov/ iles/document/FFCRA-Part-42-FAQs.pdf .
21    2
          Id.

22

23

24

25

26

27

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      The Departments FAQ, Part 42, Q6: May a plan or issuer impose any cost-sharing
 1    requirements, prior authorization requirements, or other medical management requirements for
      bene its that must be provided under section 6001(a) of the FFCRA, as amended by section 3201
 2    of the CARES Act?
 3
          No. Section 6001(a) of the FFCRA provides that plans and issuers shall not
 4        impose any cost-sharing requirements (including deductibles, co-payments,
          and coinsurance), prior authorization requirements, or other medical
 5        management requirements for these items and services. These items and
          services must be covered without cost sharing when medically appropriate
 6
          for the individual, as determined by the individual’s attending healthcare
 7        provider in accordance with accepted standards of current medical practice.3

 8        The Departments FAQ, Part 42, Q7: Are plans and issuers required to provide
          coverage for items and services that are furnished by providers that have not
 9        agreed to accept a negotiated rate as payment in full (i.e., out-of-network
          providers)?
10
          Yes. Section 3202(a) of the CARES Act provides that a plan or issuer providing
11        coverage of items and services described in section 6001(a) of the FFCRA
          shall reimburse the provider of the diagnostic testing as follows: …
12
               2. If the plan or issuer does not have a negotiated rater with such
13
          provider, the plan or issuer shall reimburse the provider in an amount that
14        equals the cash price for such service as listed by the provider on a public
          internet website, or the plan or issuer may negotiate a rate with the provider
15        for less than such cash price…4

16        The Departments FAQ, Part 43, Q9: Does Section 3202 of the CARES Act
          protect participants, bene iciaries, and enrollees from balance billing for a
17        COVID-19 diagnostic test?
18
          The Departments read the requirement to provide coverage without cost
19
          sharing in section 6001 of the FFCRA, together with section 3202(a) of the
20        CARES Act establishing a process for setting reimbursement rates, as intended
          to protect participants, bene iciaries, and enrollees from being balance billed
21        for an applicable COVID-19 test. Section 3202(a) contemplates that a provider
          of COVID-19 testing will be reimbursed either a negotiated rate or an amount
22        that equals the cash price for such service that is listed by the provider on a
          public website. In either case, the amount the plan or issuer reimburses the
23        provider constitutes payment in full for the test, with no cost sharing to the
          individual or other balance due. Therefore, the statute generally precludes
24        balance billing for COVID-19 testing. However, section 3202(a) of the CARES
          Act does not preclude balance billing for items and services not subject to
25        section 3202(a), although balance billing may be prohibited by applicable
          state law and other applicable contractual agreements.5
26
      3
27      Id.
      4
        Id.
28
      5
        See https://www.cms.gov/ iles/document/FFCRA-Part-43-FAQs.pdf ; See also FAQ Part 43

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      Q12: … Because the Departments interpret the provisions of section 3202 of the CARES Act as
 1    specifying a rate that generally protects participants, bene iciaries, and enrollees from balance
      billing for a COVID-19 test (see Q9 above), the requirement to pay the greatest of three
 2    amounts under the regulations implementing section 2719A of the PHS Act is superseded by
      the requirements of section 3202(a) of the CARES Act with regard to COVID-19 diagnostic
 3    tests that are out-of- network emergency services. For these services, the plan or issuer must
      reimburse an out-of-network provider of COVID-19 testing an amount that equals the cash
 4    price for such service that is listed by the provider on a public website, or the plan or issuer
      may negotiate a rate that is lower than the cash price.
 5
      The Departments FAQ, Part 44, Q1: Under the FFCRA, can plans and issuers
 6    use medical screening criteria to deny (or impose cost sharing on) a claim for
      COVID-19 diagnostic testing for an asymptomatic person who has no known or
 7
      suspected exposure to COVID-19?
 8
          No. The FFCRA prohibits plans and issuers from imposing medical
 9        management, including speci ic medical screening criteria, on coverage
          of COVID-19 diagnostic testing. Plans and issuers cannot require the
10        presence of symptoms or a recent known or suspected exposure, or otherwise
          impose medical screening criteria on coverage of tests.
11

12        When an individual seeks and receives a COVID-19 diagnostic test from a
          licensed or authorized health care provider, or when a licensed or authorized
13        health care provider refers an individual for a COVID-19 diagnostic test, plans
          and issuers generally must assume that the receipt of the test re lects an
14
          “individualized clinical assessment” and the test should be covered without
15        cost sharing, prior authorization, or other medical management
          requirements.6
16
          The Departments FAQ, Part 44, Q3: Under the FFCRA, are plans and issuers
17        required to cover COVID-19 diagnostic tests provided through state- or locality-
          administered testing sites?
18
          Yes. As stated in FAQs Part 43, Q3, any health care provider acting within the
19        scope of their license or authorization can make an individualized clinical
          assessment regarding COVID-19 diagnostic testing. If an individual seeks and
20        receives a COVID-19 diagnostic test from a licensed or authorized provider,
          including from a state- or locality-administered site, a “drive through” site,
21
          and/or a site that does not require appointments, plans and issuers generally
22        must assume that the receipt of the test re lects an “individualized clinical
          assessment.”7
23

24        The Departments FAQ, Part 44, Q5: What items and services are plans and
          issuers required to cover associated with COVID-19 diagnostic testing? What
25        steps should plans and issuers take to help ensure compliance with these
          requirements?
26
          … Plans and issuers should maintain their claims processing and other
27        information technology systems in ways that protect participants,
          bene iciaries, and enrollees from inappropriate cost sharing and should
28        document any steps that they are taking to do so…8
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 1              36. To supplement the FAQs publicized by the Departments, the Internal
 2
      Revenue Service (the “IRS”) issued Notice 2020-15 pertaining to high deductible
 3
      health plans (“HDHPs”) and expenses related to COVID-19 to provide members of
 4
      HDHPs (including those HDHPs insured or administered by Aetna) the con idence
 5

 6    that Covid Testing will be covered, in full, by their HDHP. Notice 2020-15 states as

 7    follows:
 8                             FACTUAL ALLEGATIONS COMMON TO ALL COUNTS
 9
                                          The CARES ACT
10

11              37.         Congress in early 2020 when the COVID pandemic was just starting

12        wanted to be sure that all Americans had access to COVID Testing Services. Congress
13        passed the federal Cares Act Covid testing provisions, which are set forth below:
14
                 SEC. 6001. COVERAGE OF TESTING FOR COVID–19.
15

16        (a)         IN GENERAL.—A group health plan and a health insurance issuer
                      offering group or individual health insurance coverage . . . shall
17                    provide coverage, and shall not impose any cost sharing (including
                      deductibles, copayments, and coinsurance) requirements or prior
18                    authorization or other medical management requirements, for the
19                    following items and services furnished during any portion of the
                      emergency period beginning on or after the date of the enactment of
20                    this Act:

21                    (1)      In vitro diagnostic products. . . for the detection of SARS–
                               CoV–2 or the diagnosis of the virus that causes COVID–19
22
                               that are approved, cleared, or authorized and the administration
23                             of such in vitro diagnostic products.
                                       (emphasis added).
24

25

26
      6
27     See https://www.cms.gov/ iles/document/faqs-part-44.pdf .
      7
        Id.
28
      8
        Id.

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                          [d]ue to the unprecedented public health
 1                        emergency posed by COVID-19, and the need to
 2                        eliminate potential administrative and inancial
                          barriers to testing for and treatment of COVID-19
 3                        [emphasis added], a health plan that otherwise
                          satis ies the requirements to be an HDHP under
 4                        section 223(c)(2)(A) will not fail to be an HDHP
                          merely because the health plan provides medical
 5
                          care services and items purchased related to testing
 6                        for and treatment of COVID-19 prior to the
                          satisfaction of the applicable minimum deductible.
 7

 8     38.     The CARES Act then states:

 9           SEC. 3202. PRICING OF DIAGNOSTIC TESTING.
10           (a)    REIMBURSEMENT RATES.—A group health plan or a health
11                 insurance issuer providing coverage of items and services described in
                   section 6001(a) of division F of the Families First Coronavirus
12                 Response Act (Public Law 116–127) with respect to an enrollee shall
                   reimburse the provider of the diagnostic testing as follows:
13
                   (1)     If the health plan or issuer has a negotiated rate with such
14
                          provider in effect before the public health emergency declared
15                        under section 319 of the Public Health Service Act (42 U.S.C.
                          247d), such negotiated rate shall apply throughout the period of
16                        such declaration.
17                 (2)    If the health plan or issuer does not have a negotiated rate with
                          such provider, such plan or issuer shall reimburse the provider
18                        in an amount that equals the cash price for such service as
                          listed by the provider on a public internet website, or such
19
                          plan or issuer may negotiate a rate with such provider for less
20                        than such cash price.

21           (b)   REQUIREMENT TO PUBLICIZE CASH PRICE FOR DIAGNOSTIC TESTING
                   FOR COVID–19.—
22

23                 (1)    IN GENERAL.—During the emergency period declared under
                          section 319 of the Public Health Service Act (42 U.S.C. 247d),
24                        each provider of a diagnostic test for COVID–19 shall make
                          public the cash price for such test on a public internet website
25                        of such provider
26           39.   Since the passage of the CARES ACT , 971,162 have died of Covid in the

27    United States almost 1 out of every 350 people have died because of Covid, 86,794
28
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      have died in California of Covid and 2,243 have died of Covid in Alameda county
 1

 2    alone.

 3             a.     The Improper Record Request Scheme and the Imposition
 4                    of Prohibited Medical Management Requirements

 5          40.        As explained above, Section 6001 of the FFCRA expressly prohibits the
 6    imposition of medical management requirements as a condition of coverage and
 7
      reimbursement for Covid Testing services regardless of whether the testing provider is
 8
      in-network or OON.
 9
         41.        However, despite this prohibition, Aetna implemented an unlawful scheme
10

11    that consists of improper, irrelevant, and burdensome medical record requests to

12    Plaintiff for the sole purpose of denying as many claims for bona ide Covid Testing
13    services submitted by Plaintiff as possible (the “Improper Record Request Scheme”).
14
      The details of Aetna’s Improper Record Request Scheme are set forth below.
15
                         i Details of Aetna’s Improper Record Request Scheme
16

17        42.        Regardless of the fact that Plaintiff is an urgent care facility and holds all

18    proper emergency use authorizations and approvals necessary, Aetna deployed its

19    Improper Record Request Scheme against Plaintiff with the intended purpose of placing
20
      barriers and denying Covid Testing claims for its own inancial bene it.
21
          43.       Since the time Plaintiff commenced with submitting Covid Testing claims to
22
      Aetna for reimbursement, Aetna almost immediately responded with sending
23

24    identical pre- payment record request letters to Plaintiff for patients’ medical iles.

25        44. Aetna’s request for the aforementioned records for submitted claims con licts

26    with the presumption created by FFCRA, the CARES Act, and supportive guidance that
27
      all Covid Testing claims submitted to issuers or health plans for reimbursement are
28
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      medically appropriate, ordered by a licensed medical professional, and that the receipt
 1

 2    of the test re lects an “individualized clinical assessment”.9 These record requests

 3    con lict with this presumption and is an overly burdensome and improper condition of

 4    payment to Plaintiff.
 5
           45.    The requested information and materials were provided to Aetna on February
 6
      15, 2021. Since this date, Aetna has not contacted Plaintiff regarding any supplemental
 7
      or subsequent requests, made any additional inquiries regarding the legitimacy of
 8

 9    Plaintiff, expressed any concerns about Plaintiff and its ability to render Covid Testing

10    services, nor informed Plaintiff about the status of its investigation but has no p[aid any
11    of the unpaid and claims
12
                       ii.     Aetna’s Arbitrary and Inconsistent Review of Requested Records
13
          46.     Because Plaintiff only provides Covid Testing services Plaintiff is in the unique
14

15    position that all claims being electronically submitted to Aetna via the HCFA-1500

16    forms are uniformly constructed and submitted. Given the uniformity of the Covid
17    Testing services and the electronic claims being submitted to Aetna coupled with the
18
      Federal and State mandates that require Aetna to process Covid Testing claims
19
      submitted by OON providers in a very singular fashion, Plaintiff’s very reasonable
20
      expectation was that all Covid Testing claims should be paid at Plaintiff’s cash price
21

22    since Aetna, to date, has not even attempted to negotiate an amount to be paid despite

23    Plaintiff’s good faith attempts to do so.
24    9
       The Departments FAQ, Part 44, Q3: Under the FFCRA, are plans and issuers required to cover
25    COVID-19 diagnostic tests provided through state- or locality-administered testing sites?
      Yes. As stated in FAQs Part 43, Q3, any health care provider acting within the scope of their license or
26    authorization can make an individualized clinical assessment regarding COVID-19 diagnostic testing. If an
      individual seeks and receives a COVID-19 diagnostic test from a licensed or authorized provider,
      including from a state- or locality- administered site, a “drive through” site, and/or a site that does not
27
      require appointments, plans and issuers generally must assume that the receipt of the test re lects an
28    “individualized clinical assessment.

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         47.     Leaving aside the unlawful and burdensome nature of Aetna’s Improper Record
 1

 2   Request Scheme, Plaintiff also assumed that compliance with Aetna’s claim-by-claim

 3   record requests would lead to a consistent review and adjudication of Plaintiff’s Covid

 4   Testing claims since all Covid Testing claims and requested records submitted to
 5
     Aetna are the same or substantially similar. That is far from the case.
 6
           48.      For rendered Covid service claims, the Defendant Aetna in the past has paid a
 7

 8    portion of the full posted Covid testing prices of the Plaintiff:

 9        a.      for the doctor COVID medical visit CPT 99203,
10
          b.      the additional urgent care walkin charge CPT CODE S9088,
11

12        c.      the patient optional Covid swab collection fee CPT COD G2023 and

13
          d.      the patient optional fee for the emergency COVID protective equipment CPT
14
                  CODE 99072.
15
          49.       Once it became obvious to Defendant that there would more than just a few
16
      such charges coming in the future the Defendant ceased paying for the full Covid posted
17

18    prices for the same Covid testing services and instead shifted the payment

19    responsibility to its insureds even though doing so violated the CARES Act.

20
           REDUCTIONS FOR CO-PAYS OR DEDUCTIBLES ASSESSED TO THE INSURED IS A
21
      SEPARATE VIOLATION OF THE CARES ACT SECTION 3203
22

23      50.       Below are four samples of the thousands of Explanation of Bene its provided

24   by the defendant Aetna which states on their face that the payment for the COVID
25
     Testing bill submitted by Saloojas has been reduced by co-pays or deductibles assessed
26
     against their insured. That is specially not allowed under the CARES ACT when the
27
     services are for COVID TESTING.
28
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         51.    Under the CARES Act Sec 3203, there is no cost sharing permitted for COVID
 1

 2   testing between the insured and the insurer. This means that the insured cannot be

 3   assessed a co-pay or deductible for the COVID Testing. There has been instances where

 4   the payment to Saloojas contains deductions for the insured’s co-pays and deductibles
 5
     for the COVID Testing. The CARES ACT speci ically makes it illegal to reduce the
 6
     payments for services rendered to COVID Testing for any co-pays on deductibles
 7
     assessed to the insured. The insurer is required by law to to pay the full amount
 8

 9   without any adjustment for COVID Testing services.

10
       52.      SEC. 3203. RAPID COVERAGE OF PREVENTIVE SERVICES AND VACCINES
11                                 FOR CORONAVIRUS.

12
         (a) IN GENERAL.—Notwithstanding 2713(b) of the Public Health Service Act (42
13       U.S.C. 300gg–13), the Secretary of Health and Human Services, the Secretary of
         Labor, and the Secretary of the Treasury shall require group health plans and
14       health insurance issuers offering group or individual health insurance to
         cover (without cost-sharing) any qualifying coronavirus preventive service,
15
         pursuant to section 2713(a) of the Public Health Service Act (42 U.S.C. 300gg–
16       13(a)) (including the regulations under sections 2590.715–2713 of title 29, Code of
         Federal Regulations, section 54.9815–2713 of title 26, Code of Federal Regulations,
17       and section 147.130 of title 45, Code of Federal Regulations (or any successor
         regulations)). The requirement described in this subsection shall take effect with
18       respect to a qualifying coronavirus preventive service on the speci ied date
19       described in subsection (b)(2).

20

21

22

23

24

25

26

27

28
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 1        53.         The CARES ACT was implemented so as to apply only to COVID Testing
 2
      services. That may be where the problem occurred at your end. While it would be
 3
      totally proper to reduce by co-pays and deductibles for non COVID Testing and
 4
      treatment the amount        that should be paid by the insured from a bill to an out of
 5

 6    network provider, for COVID TESTING along such reductions are not allowed. All such

 7    reductions assessed against the COVID Testing bills submitted by Saloojas are simply

 8    wrong, illegal and must be corrected. There is no patient responsibility for the Covid
 9
      testing bills under the CARES ACT and it is illegal to charge such co-pays and
10
      deductibles. The net effect being to force people not to get treatment because of the fear
11
      of being charged, or being sued to collect the improper charge or the provider not being
12

13    paid even though he is required to have been fully paid under the CARES Act.

14                                   CAUSES OF ACTION
15

16                                          CLAIM I
17                 VIOLATION OF THE FFCRA AND THE CARES ACT
18
           54.     The foregoing allegations are re-alleged and incorporated by reference as if
19
      fully set forth herein.
20
            55     Defendants offer group health plans and/or are health insurance issuers
21

22    offering group or individual health insurance coverage, as those terms are de ined

23    under Section 6001 of the FFCRA.

24         56.     When COVID irst appeared most of the Urgent Cares throughout Northern
25
      California closed or would not do Covid testing , the Plaintiff was the only one within a
26
      35 miles radius which continued to do Covid testing. As of March 15, 2022, a total of
27
      31,772 Covid examination were conducted by Plaintiff alone which have either not been
28
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      paid or were underpaid by insurance companies in violation of the CARES Act. The
 1

 2    defendant alone has not paid or underpaid in thousands of cases.

 3         57. The Covid Testing services that Plaintiff provided to members of the Aetna

 4    Plans and the Employer Plans administered by Aetna constitute as in vitro diagnostic
 5
      products for the detection of COVID-19, as provided by Section 6001 of the FFCRA.
 6
          58.        Plaintiff is an OON medical and urgent care facility and did not have a
 7
      negotiated rate with Aetna for the provision of Covid Testing services.
 8

 9         59.     In compliance with the CARES Act, Plaintiff posted its cash prices for Covid

10    Testing Services on its public website.
11         60.     Under section 3202(a)(2) of the CARES Act, if a health plan does not have a
12
      negotiated rate with a provider, such as Plaintiff, for providing Covid Testing services,
13
      the health plan is obligated to pay the provider his posted cash price for those services.
14
          61.      Aetna, despite numerous and persistent demands and requests, have failed
15

16    and refused to provide anything remotely close to Plaintiff’s cash price for providing

17    Covid Testing services. In fact, Aetna has paid nothing for the vast majority of Covid
18    Testing claims Plaintiff has submitted to Aetna.
19
         62.     By reason of the foregoing, Plaintiff has been injured.
20
        63.       Based on the above, Plaintiff is entitled to judgment against Aetna and
21
      the Employer Plans in an amount to be determined at the trial of this matter, plus
22

23    interest thereon, together with the costs and disbursements of this action, including

24    reasonable attorneys’ fees
25
                                               CLAIM II
26
                     VIOLATION OF SECTION 502(a)(1)(B) OF ERISA
27

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            64. The foregoing allegations are re-alleged and incorporated by reference as if fully
 1

 2    set forth herein.

 3          65. All of the Employer Plans at issue are bene it plans established pursuant to the

 4    Employee Retirement Income Security Act of 1974 (“ERISA”). 10
 5

 6          66. ERISA, the FFCRA and the CARES Act require the Employer Plans and Aetna to

 7    reimburse OON providers for Covid Testing Services in a speci ic manner.

 8            67.    Aetna’s denials and mis-adjudication of Covid Testing claims submitted by
 9
      Plaintiff on behalf of members of self-funded health plans administered by Aetna (e.g.
10
      Employer Plans) are a violation of the requirements of self-funded ERISA health plans
11
      to cover Covid Testing services and a wrongful denial of bene its owed under ERISA.
12

13            68.    Many of the members of plans either insured or administered by Aetna who

14    received Covid Testing services from Plaintiff executed assignment of bene its

15    documents.
16
              69. Moreover, the FFCRA and the CARES Act, by directing all plans, including self-
17
      funded ERISA health plans (e.g. Employer Plans), not just to cover Covid Testing and
18
      related services, but to pay OON providers certain amounts for Covid Testing services
19

20    provided to covered members, have obviated the need for a provider to obtain a

21    speci ic assignment of ERISA bene its from a member of a health plan subject to ERISA

22    to be entitled to seek reimbursement from the health plan for Covid Testing services, or
23
      to be entitled to bring an action under ERISA for reimbursement and/or injunctive
24
      relief.
25
           70 In effect, the FFCRA and the CARES Act have given OON providers of Covid
26

27    10
           9 U.S.C. §§ 1001, et seq.
28
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      Testing services standing to sue self-funded health plans subject to ERISA (e.g.
 1

 2    Employer Plans) for violations of ERISA, including violations of the FFCRA and the

 3    CARES Act, regardless of whether there has been an assignment of bene its. Indeed, the

 4    “bene it” Plaintiff is suing for is the provider reimbursement required by the FFCRA and
 5
      the CARES Act. The FFCRA and the CARES Act do not merely require healthcare plans to
 6
      “cover” Covid Testing services, they require self- funded health plans to pay amounts
 7
      directly to OON providers, because the Congressional intent was to prevent patients
 8

 9    from facing any possible out of pocket liability.

10      71. Pursuant to 29 C.F.R. § 2560.503-1(l) and 45 C.F.R. §§ 147.136(b)(2)(ii (F)(1),
11    (b)(3)(ii)(F)(1), Aetna’ internal claims and appeals processes (i.e. claims procedures)
12
      failed to comply with or strictly adhere to the minimum requirements of the internal
13
      claims and appeals processes, as prescribed by 29 C.F.R. § 2560.503-1 and/or 45 C.F.R.
14
      § 147.136; therefore, the internal claims and appeals processes available under each
15

16    Aetna Plan and Employer Plan are deemed to have been exhausted allowing Plaintiff to

17    pursue any available remedies under Section 502(a) of ERISA, or under State law on the
18    basis that Aetna have failed to provide a reasonable claims procedure that would yield a
19
      decision on the merits of the Covid Testing claims at issue.
20
         72.     Additionally, pursuant to 45 C.F.R. §§ 147.136(b)(2)(ii)(F)(2), (b)(3)(ii)(F)(2),
21
      Aetna, in its capacity as an insurer and third-party claims administrator, failed to
22

23    respond to Plaintiff’s written request for a written explanation of Aetna’ patterns and

24    practices of violations as alleged and detailed in this Original Complaint within ten (10)
25    days of Plaintiff’s speci ic written request to Aetna; therefore, the internal claims and
26
      appeals processes available under each Aetna Plan and Employer Plan are further
27
      deemed to have been exhausted.
28
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         73.      Thus, Plaintiff has exhausted available administrative remedies, or exhaustion
 1

 2    of administrative remedies would be futile given the above, and, alternatively, Aetna’s

 3    utter disregard for ERISA deadlines and procedures described above excuses any

 4    failure to exhaust administrative remedies.
 5
         74.     29 U.S.C. § 1132 provides that a member of a self-funded health plan subject to
 6
      ERISA and Plaintiff under these circumstances may bring a civil action to recover
 7
      bene its due under the plan, to enforce rights under the plan and to clarify rights and
 8

 9    future bene its under the plan.

10         75.      Aetna’ failures to pay Plaintiff in full for covered Covid Testing services
11    rendered to the members constitutes a breach of these self-funded health plans, and
12
      Aetna’ failures were erroneous, arbitrary and capricious and were without reason, were
13
      unsupported by substantial evidence, and were erroneous as a matter of law.
14
         76.      Plaintiff is entitled to payment, pursuant to the FFCRA and the CARES Act for
15

16    the bona ide Covid Testing services provided to Aetna members.

17      77.      Furthermore, the Court may equitably reform the Employer Plans that do not
18    comply with ERISA, the FFCRA, and the CARES Act, to render them compliant. Fairness
19
      and justice require such equitable reformation, because the Plaintiff provided an
20
      invaluable service to the community, in reliance on federal law regarding
21
      reimbursement, and Aetna is violating that law, to its own bene it and the detriment of
22

23    the Plaintiff and members of plans Aetna insures and administers. The Court should

24    equitably reform any of Aetna’s ERISA plans that do not comply with the FFCRA and the
25    CARES Act at issue to require that they mirror the language of the FFCRA and the
26
      CARES Act.
27

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          78.      Plaintiff is also entitled to reasonable attorneys’ fees, pursuant to 29 U.S.C. §
 1

 2    1132 (g)(1).

 3
                                          CLAIM III
 4                         VIOLATION OF 18 U.S.C. § 1962©
 5                                          (RICO)
 6
          79.      The foregoing allegations are re-alleged and incorporated by reference as if
 7
      fully set forth herein.
 8

 9       80.     Plaintiff is a “person” within the meaning of 18 U.S.C. § 1961(3)

10      81.     Each of the health plans that Aetna administers is an “enterprise” within the
11    meaning of 18 U.S.C. §§ 1961(4) and 1962(c). The Employer Plans and self-funded
12
      health plans that Aetna administers were engaged in activities affecting interstate and
13
      foreign commerce at all times relevant to this Original Complaint.
14
         82      Aetna is associated with the plans that it administers and has conducted or
15

16    participated, directly or indirectly, in the conduct of the Employer Plans and self-funded

17    health plans that Aetna administers in relation to Plaintiff through a pattern of
18    racketeering activity within the meaning of 18 U.S.C. § 1961(1) and (5).
19
        83      The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5), described
20
      more fully throughout this Original Complaint, includes Aetna’s multiple, repeated, and
21
      continuous use of the mails and wires in furtherance of the Improper Record Request
22

23    Scheme, meritless claims and appeals processes, its disinformation campaign in

24    violation of 18 U.S.C. §§ 1341 and 1343, and embezzlement and/or conversion of self-
25    funded plans assets through its CRS Benchmark Program in violation 18 U.S.C. § 664.
26
      Aetna’s violations have occurred in relation to, and/or involve bene its authorized,
27
      transported, transmitted, transferred, disbursed, or paid in connection with this COVID-
28
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      19 Public Health Emergency which is a presidentially declared “emergency” as this
 1

 2    term is de ined in Section 102 of the Robert T. Stafford Disaster Relief and Emergency

 3    Assistance Act.

 4        84. Speci ic and detailed explanations and examples of Aetna’s use of the mails and
 5
      wires to engage in a pattern of racketeering activity and embezzlement, theft, and
 6
      conversion of self-funded health plan assets are detailed throughout this Original
 7
      Complaint.
 8

 9       85 As a direct result of Aetna’s violation of 18 U.S.C. § 1962(c), Plaintiff has suffered

10    substantial injury to its business and property within the meaning of 18 U.S.C. §
11    1964(c).
12
                                            CLAIM IV
13

14                                PROMISSORY ESTOPPEL (NON-ERISA)

15       86 The foregoing allegations are re-alleged and incorporated by reference as if fully
16
      set forth herein.
17
          87     Aetna undertook conduct that conveyed to Plaintiff that coverage for COVID
18
      testing would be afforded to its members, but then arbitrarily adjudicated claims and
19

20    refused to issue proper reimbursements when the claims were submitted on behalf of

21    the members of health plans insured or administered by Aetna.

22        88     Aetna expected, or reasonably should have expected, that Plaintiff would rely
23
      on Aetna’s compliance with the FFCRA and the CARES Act, especially given its public
24
      statements and publications emphasizing its compliance with the aforementioned laws..
25
          89.      Plaintiff detrimentally relied on Aetna’s promises to pay by continuing to
26

27    provide Covid Testing services to Aetna members. Plaintiff’s reliance on the promises

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       caused it to suffer a de inite and substantial detriment and has caused it damage.
 1

 2         90.    Based on the above, Plaintiff is entitled to compensatory damages, interest,

 3    costs of suit, attorneys’ fees, and such other relief as the Court deems equitable and just.

 4        91.     Instead, as detailed throughout this Original Complaint, Aetna engaged in
 5
      unscrupulous and fraudulent conduct to avoid its obligation to reimburse Plaintiff in
 6
      accordance with Section 3202(a) of the CARES Act. This unlawful conduct does not
 7
      excuse Aetna from delaying payments and/or perpetually paying the improper amount
 8

 9    on Covid Testing claims.

10        92.     Aetna’s failures to timely pay the full amounts due to Plaintiff of its Covid
11    Testing claims has resulted in overdue payment due to Plaintiff
12
          93.     By reason of the foregoing, Plaintiff is entitled to recover from Aetna the full
13
      underpaid and unpaid amounts due to Plaintiff on all relevant Covid Testing claims,
14
      together with any and all applicable statutory interests
15

16                                       CLAIM V
17                        INJUNCTIVE RELIEF (NON-ERISA)
18
        94. The foregoing allegations are re-alleged and incorporated by reference as is fully
19
      set forth herein.
20

21       95. Currently, Aetna is wrongfully denying payment in whole or in part for virtually

22    all bona ide Covid Testing service claims submitted during this COVID-19 public health

23    emergency by Plaintiff on behalf of members of health plans either insured or
24
      administered by Aetna. In doing so, Aetna has failed and is failing to comply with the
25
      FFCRA, the CARES Act, ERISA, the terms of the health plans, and other applicable
26
      Federal and State laws.
27

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        96. Furthermore, as detailed throughout the course of this Original Complaint, Aetna
 1

 2    has engaged in unscrupulous and fraudulent conduct to circumvent its obligations to

 3    adjudicate and reimburse Plaintiff for bona ide Covid Testing services.

 4       97.     Unless enjoined from doing so, Aetna will continue to operate its fraudulent
 5
      schemes and meritless claims and appeals processes and fail to comply with all
 6
      applicable authorities to detriment of Plaintiff, members of health plans insured or
 7
      administered by Aetna, and the self-funded health plans that Aetna administers. A
 8

 9    monetary judgment in this case will only compensate Plaintiff for past losses and will

10    not stop Aetna from continuing to engage in unscrupulous and fraudulent conduct and
11    to embezzlement and/or convert the assets of self-funded health plans, which is
12
      necessary for Plaintiff to maintain its laboratory. Plaintiff has not practical or adequate
13
      remedy, either administratively or at law, to avoid these future losses.
14
         98.     Plaintiff is entitled to a permanent injunction requiring Aetna to comply with
15

16    the requirements of the FFCRA and the CARES for Covid Testing claims submitted on

17    behalf of members of plans that are insured by Aetna, and removing Aetna as claims
18    administrator to the self-funded health plans Aetna administers so that Aetna cannot
19
      continue to summarily deny bona ide Covid Testing claims provided by Plaintiff.
20
                                         CLAIM VI
21

22             UNLAWFUL, UNFAIR AND FRAUDULENT BUSINESS ACTS
23
                                      AND PRACTICES
24
         99.     Plaintiff hereby incorporate each and every foregoing allegation as if fully
25

26    alleged herein and further alleges as follows.

27
       100.     The Defendant Aetna’s acts and practices as detailed above constitute acts of
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      unfair competition. Defendants have engaged in an unlawful, unfair or fraudulent
 1

 2    business act and/or practice within the meaning of California Business & Professions

 3    Code §17200.

 4
           101.    The Defendant Aetna have engaged in an "unlawful" business act and/or
 5
      practice by engaging in the conduct set forth above. These business acts and practices
 6

 7    violated numerous provisions of law, including, the Federal Cares Act, RICO and the

 8    FFRCA. Plaintiffs reserve the right to identify additional violations of law as further

 9    investigation warrants.
10
          102.    Through the above-described conduct, the Defendant Aetna have engaged
11

12    in an "unfair" business act or practice in that the justi ication for such actions and the

13    refusal to notify the general public of the true facts, either in the past or presently,

14    based on the business acts and practices described above is outweighed by the gravity
15
      of the resulting harm, particularly considering the available alternatives, and/or
16
      offends public policy, is immoral, unscrupulous, unethical and offensive, or causes
17
      substantial injury to consumers.
18

19        103. By engaging in the above-described conduct, Defendants have engaged in a
20
      "fraudulent" business act or practice in that the business acts and practices described
21
      above had a tendency and likelihood to deceive the defendant Aetna’s insured and the
22
      general public.
23

24        104.       The above-described unlawful, unfair or fraudulent business acts and
25    practices engaged in by Defendant Aetna continue to this day and/or present a threat
26
      of irreparable harm to the general public. The Defendant Aetna have failed to publicly
27
      acknowledge the wrongfulness of their actions and provide the complete relief
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      required by the statute and pay Plaintiff for the rendered Covid Testing Services as
 1

 2    required by law.

 3
              104.    Pursuant to California Business & Professions Code §17203, Plaintiff, on
 4
      behalf of the general public, seek a temporary, preliminary and/or permanent order
 5
      from this Court prohibiting Defendant Aetna from refusing to continue to engage in
 6

 7    the unlawful, unfair, or fraudulent business acts or practices set forth in this

 8    Complaint and from failing to fully disclose the true facts as set forth herein, and or

 9    ordering Defendant Aetna and their representatives to stop misleading the public and
10
      engage in a corrective campaign, particularly in light of the public misperception
11
      created by Defendant and/or its representatives' misstatements and omissions of
12
      material fact, as well as provide appropriate equitable monetary relief as the court
13

14    deems just and appropriate to all persons with a vested interest therein.

15
              105.    Plaintiff, on behalf of the general public, also request the Court issue an
16
      order granting the following injunctive and/or declaratory relief:
17

18       a.     That a judicial determination and declaration be made of the rights of the

19               general public, and the corresponding responsibilities of Defendant under
20
                both the CARES and FFRCA;
21
        b.     That Defendant Aetna’s representatives be ordered to cease and desist from
22

23             making misrepresentations to the general public; and
24
        c.      That Defendant Aetna be required to provide equitable monetary relief to the
25

26             members of the general public adversely affected by the practices at issue.
27

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 1                                      JURY DEMAND

 2
             Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
 3
      requests a trial by jury on all issues so triable.
 4

 5                                  PRAYER FOR RELIEF
 6
            WHEREFORE, Plaintiff demands judgment in its favor against the Defendant Aetna
 7    as follows:
 8           A.      Declaring all Defendants have breached the FFCRA and the CARES Act
 9
      regarding the coverage and reimbursement of Covid Testing service claims submitted
10
       by Plaintiff on behalf of members of the aforementioned health plans, as well as
11
       awarding injunctive and declaratory relief to prevent Aetna’ continuous actions
12

13     detailed herein;

14           B.      Declaring that the Defendant have breached the FFCRA, the CARES Act,
15    ERISA, and the terms of their health plans regarding the coverage and reimbursement
16
      of Covid Testing service claims submitted by Plaintiff on behalf of members of the
17
      aforementioned health plans, as well as awarding injunctive and declaratory relief to
18
      prevent Aetna’s continuous actions detailed herein;
19

20           C.      Declaring that the Defendant failed to provide a “full and fair review”

21    under § 503 of ERISA, 29 U.S.C. § 1133, and applicable claims procedures regulations,
22
      and that “deemed exhaustion” under such regulations is effect as a result of Defendant’s
23
      actions and/or inactions, as well as awarding injunctive, declaratory, and other
24
      equitable relief to ensure compliance with ERISA and its claims procedure regulations;
25

26           D.       Treble the damages sustained by Plaintiff as described above under 18

27    U.S.C. § 1962(c);

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               E.     Declaring that Defendant Aetna violated its statutory obligations to
 1

 2    process Covid Testing claims in accordance with the Section 6001 of the FFCRA and

 3    Section 3202(a) of the CARES Act.

 4           F.      Statutory interest in pursuant to California law
 5
            G.       Punitive damages;
 6
            H.       Compensatory and consequential damages resulting from the injury to
 7
      Plaintiff’s business in excess of $2,000,000 dollars, as detailed throughout this Original
 8

 9    Complaint for the unpaid and underpaid rendered Covid testing Services and to be further

10    established at trial;

11           I.      Awarding damages as determined based on Defendant Aetna’s violation
12
      of the California Unfair Business Competition Act;
13
             J.       Awarding lost pro its, contractual damages, and compensatory damages
14
      in such amounts as the proofs at trial will show;
15

16          K.       Awarding exemplary damages for Defendant Aetna’s intentional and

17    tortious conduct in such amounts as the proofs at trial will show;
18          L.          Declaring that Aetna has violated the FFCRA, the CARES Act, and the
19
      terms of the health plans fully-insured by Aetna;
20
            M.       Awarding reasonable attorneys’ fees, as provided by common law, Federal
21
      or State statute, or equity, including 18 U.S.C. § 1964(c) and 29 U.S.C. § 1132(g);
22

23         N         Awarding costs of suit;

24         O.         Awarding pre-judgment and post-judgment interest as provided
25    by common law, Federal or State statute or rule, or equity; and
26
           P.       Awarding all other relief to which Plaintiff is entitled
27

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           Q.      For attorneys' fees pursuant to, inter alia, the private Attorney General
 1
     doctrine and/or C.C.P. §1021.5 as may be appropriate.
 2

 3                                      Respectfully submitted,

 4                                         /s/__Michael Lynn Gabriel
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